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            EXHIBIT 8
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                                      United States District Court
                                     Southern District Of New York

--------------------------------------------------X
Virginia L. Giuffre,

        Plaintiff,

v.                                                                  15-cv-07433-RWS

Ghislaine Maxwell,

        Defendant.

-----------------------------------------------X


                                 DEFENDANT GHISLAINE MAXWELL'S
                              INITIAL F.R.C.P. 26(a)(l)(A) DISCLOSURES

        Pursuant to F.R.C.P. 26(a)(l)(A), Defendant Ghislaine Maxwell makes the following

disclosures:

        I.       IDENTITIES OF INDIVIDUALS LIKELY TO HAVE DISCOVERABLE
                 INFORMATION RELEVANT TO DISPUTED FACTS ALLEGED WITH
                 PARTICULARITY IN THE PLEADINGS

             1. Ghislaine Maxwell
                c/o Laura A. Menninger, Esq.
                Haddon, Morgan & Foreman, P.C.
                150 E. 10th Ave.
                Denver, CO 80203
                303-831-7364
                LMenninger@HMFLaw.com

                 Ms. Maxwell is the Defendant and may have knowledge concerning matters at
                 issue, including the events of 1999-2002 and the publication of statements in the
                 press in 2011-2015.

             2. Virginia Lee Roberts Giuffre
                c/o Sigrid S. Mccawley, Esq.
                Boies, Schiller & Flexner LLP
                401 East Las Olas Boulevard, Suite 1200
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       Mr. Edwards has knowledge concerning Plaintiff's false statements to the press,
       in court pleadings, and in sworn testimony at issue in this matter. Mr. Edwards
       also has knowledge concerning "Victim's Refuse Silence, Inc."

    7. Jeffrey Epstein
       c/o Tonja Haddad Coleman, Esq.
       315 SE 7th Street, Suite 301
       Fort Lauderdale, FL 33301
       (954) 467-1223

       Mr. Epstein has knowledge concerning Plaintiffs false statements to the press and
       in court pleadings, as well as the events of 1999-2002 concerning Plaintiff and
       Defendant.

   8. Anthony Figueroa
      Address unknown at this time
      Telephone number unknown at this time

       Mr. Figueroa may have knowledge concerning matters at issue, including
       Plaintiff's activities during 1996- 2002.

   9. Louis Freeh
      Address unknown at this time

     Jane Doe 2
      Mr. Freeh may have knowledge concerning travel of Bill Clinton.

   I 0. Robert Giuffre
        Address unknown at this time
        Telephone number unknown at this time

      Mr. Giuffre is may have knowledge concerning matters at issue, including
      Plaintiff's activities during 2002-2016 and her damages allegations.

   11 . Ross Gow
        Acuity Representation
        23 Berkeley Square
        London WIJ 6HE

    Jane Doe 2
      Mr. Gow may have knowledge concerning matters at issue, including the
      publication of statements in the press in 2011-2015 concerning Plaintiff and
      Defendant.


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       Dated: February 24, 2016.



                                                Respectfully submitted,



                                             s/ Laura A. Menninger
                                             Laura A. Menninger (LM-1374)
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                                             150 East 10th Avenue
                                             Denver, CO 80203
                                             Phone: 303.831.7364
                                             Fax:     303.832.2628
                                             lmenninger@hmflaw.com

                                             Attorneyfor Ghislaine Maxwell



                              CERTIFICATE OF SERVICE

       I certify that on February 24, 2016, I electronically served this DEFENDANT
GHISLAINE MAXWELL'S INITIAL F.R.C.P. 26(A)(J) DISCLOSURES via e-mail on the
following:

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Ft. Lauderdale, FL 33301
smccawley@bsfllp.com

                                                s/ Laura A. Menninger
                                                Laura A. Menninger




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